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US. District Court
Northern District of Alabama (Southern)
CIVIL DOCKET FOR CASE #: 2:12-cv-02532-RDP

Conway v. Blue Cross and Blue Shield of Alabama et al

Assigned to: Judge R David Proctor
Lead case: 2:12-cv-01133-RDP
Member case: (View Member Case)
Cause: 15:1] Antitrust Litigation

Plaintiff

Jerry L Conway
D.C., on behalf of himself and ail others
similarly situated

represented by

Date Filed: 07/24/2012
Jury Demand: Plaintiff
Nature of Suit: 410 Anti-Trust
Jurisdiction: Federal Question

Dennis G Pantazis

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Defendant

Blue Cross and Blue Shield of
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Defendant
Arkansas Blue Cross and Blue Shield

Defendant

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(See above for address)

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J Robert Robertson

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Defendant

Highmark Blue Cross and Blue

Shield of Delaware

Defendant

Blue Cross and Blue Shield of Florida

Defendant

Blue Cross and Blue Shield of
Georgia

represented by

represented by

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ATTORNEY TO BE NOTICED

Craig A Hoover

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Defendant

Hawaii Medical Service Assoc

d/b/a Blue Cross and Blue Shield of

Hawaii

represented by

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Defendant

Health Care Service Corp
d/bla Blue Cross and Blue Shield of
Hlinois

Defendant

Anthem Blue Cross and Blue Shield
of Indiana

represented by

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Defendant

Wellmark Inc

d/b/a Blue Cross and Blue Shield of

Towa

Defendant

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Defendant

Blue Cross and Blue Shield of
Louisiana

Defendant

Anthem Health Plans of Maine

represented by Craig A Hoover

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Defendant

CareFirst Blue Cross and Blue Shield
of Maryland

Defendant

Blue Cross and Blue Shield of represented by Craig A Hoover
Massachusetts (See above for address)

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Defendant

Blue Cross and Blue Shield of
Michigan

Defendant

Blue Cross and Blue Shield of
Minnesota

Defendant

Blue Cross and Blue Shield of
Mississippi

Defendant

represented by

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Anthem Blue Cross and Shield of
Missouri

Defendant

Blue Cross and Blue Shield of Kansas
City

represented by

represented by

Craig A Hoover

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vs nde ace

Defendant

Blue Cross and Blue Shield of
Nebraska

Defendant

Anthem Blue Cross and Blue Shield
of New Hampshire

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represented by Brian P Kappel

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Defendant

Horizon Blue Cross and Blue Shield represented by
of New Jersey

Defendant

Blue Cross and Blue Shield of New
Mexico

Defendant

Excellus BlueCross BlueShield of
New York

Defendant

Blue Cross and Blue Shield of North represented by
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Defendant
Blue Cross and Blue Shield of
Oklahoma
Defendant
Blue Cross of Northeastern
Pennsylvania

Wilkes-Barre

Defendant

Independence Blue Cross

Defendant
Triple S$ - Salud Inc

Defendant

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17 of 32

Blue Cross and Blue Shield of Rhode

Island

Defendant

Blue Cross and Blue Shield of South
Carolina

Defendant

Wellmark of South Dakota Inc
d/bia Wellmark Biue Cross and Blue
Shield of South Dakota

represented by

represented by

Craig A Hoover

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Defendant

Blue Cross and Blue Shield of
Tennessee

represented by

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Defendant
Blue Cross and Blue Shield of Texas
Defendant
Blue Cross and Blue Shield of
Vermont
Defendant
Anthem Blue Cross and Blue Shield represented by Craig A Hoover
of Virginia Inc (See above for address)
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LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Emily M Yinger
(See above for address)
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J Robert Robertson

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Defendant
Highmark Blue Cross, Blue Shield of
West Virginia
Defendant
Blue Cross and Blue Shield
Association
Defendant
Highmark Ine

Date Filed # Docket Text

07/24/2012

COMPLAINT against Anthem Blue Cross and Blue Shield of Connecticut,
Anthem Blue Cross and Blue Shield of Indiana, Anthem Blue Cross and Blue
Shield of New Hampshire, Anthem Blue Cross and Blue Shield of Virginia Inc,
Anthem Blue Cross and Shield of Missouri, Anthem Health Plans of Maine,
Anthem Inc, Arkansas Blue Cross and Blue Shield, Blue Cross and Blue Shield
Association, Blue Cross and Blue Shield of Alabama, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue
Cross and Blue Shield of Michigan, Blue Cross and Blue Shield of Minnesota,
Blue Cross and Blue Shield of Mississippi, Blue Cross and Blue Shield of
Nebraska, Blue Cross and Blue Shield of New Mexico, Blue Cross and Blue
Shield of North Carolina, Blue Cross and Blue Shield of Oklahoma, Blue Cross
and Blue Shield of Rhode Island, Blue Cross and Blue Shield of South Carolina,
Blue Cross and Blue Shield of Tennessee, Blue Cross and Blue Shield of Texas,
Blue Cross and Blue Shield of Vermont, Blue Cross of Northeastern
Pennsylvania, CareFirst Blue Cross and Blue Shield of Maryland, Excellus
BlueCross BlueShield of New York, Hawaii Medical Service Assoc, Health
Care Service Corp, Highmark Blue Cross and Blue Shield of Delaware,

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Highmark Blue Cross, Blue Shield of West Virginia, Horizon Blue Cross and
Blue Shield of New Jersey, Independence Blue Cross, Premera Blue Cross of
Alaska, Triple S - Salud Inc, Weilmark Inc, Wellmark of South Dakota Inc
(Filing fee $ 350.00 receipt #B4601035614) filed by Jerry L Conway.(KGE, )
(Entered: 07/26/2012)

MOTION to Consolidate and establish separate track by Jerry L Conway. (KGE,
) (Entered: 07/26/2012)

07/24/2012

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Request for service by certified mail filed by Jerry L Conway. (KGE, ) (Entered:
07/26/2012)

07/25/2012

Summons Issued as to Anthem Bhie Cross and Blue Shield of Connecticut,
Anthem Blue Cross and Blue Shield of Indiana, Anthem Blue Cross and Blue
Shield of New Hampshire, Anthem Blue Cross and Blue Shield of Virginia Inc,
Anthem Blue Cross and Shield of Missouri, Anthem Health Plans of Maine,
Anthem Inc, Arkansas Blue Cross and Blue Shield, Blue Cross and Blue Shield
Association, Blue Cross and Blue Shield of Florida, Blue Cross and Blue Shield
of Georgia, Blue Cross and Blue Shield of Kansas, Blue Cross and Blue Shield
of Kansas City, Blue Cross and Blue Shield of Louisiana, Blue Cross and Blue
Shield of Massachusetts, Blue Cross and Blue Shield of Michigan, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of Mississippi, Blue
Cross and Blue Shield of Nebraska, Blue Cross and Blue Shield of New
Mexico, Blue Cross and Blue Shield of North Carolina, Blue Cross and Blue
Shield of Oklahoma, Blue Cross and Blue Shield of Rhode Island, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Blue Cross and Blue Shield of Texas, Blue Cross and Blue Shield of Vermont,
Blue Cross of Northeastern Pennsylvania, CareFirst Blue Cross and Blue Shield
of Maryland, Excellus BlueCross BlueShield of New York, Hawaii Medical
Service Assoc, Health Care Service Corp, Highmark Blue Cross and Blue
Shield of Delaware, Highmark Blue Cross, Blue Shield of West Virginia,
Horizon Blue Cross and Blue Shield of New Jersey, Independence Blue Cross,
Premera Blue Cross of Alaska, Tripie S - Salud Inc, Wellmark Inc, Wellmark of
South Dakota Inc., mailed certified mail (KGE, } (Entered: 07/26/2012)

07/26/2012

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07/26/2012 Notice: The parties are NOTIFIED that the law clerk in THIS case may be
reached at 205-542-1125 or Laura_Doheny @alnd uscourts.gov. The parties are
DIRECTED to NOT send COURTESY COPIES in THIS case unless instructed
otherwise (KGE, ) (Entered: 07/26/2012)

SUMMONS Returned Executed Anthem Blue Cross and Blue Shield of Indiana
served on 7/30/2012, answer due 8/20/2012; Anthem Blue Cross and Shield of
Missouri served on 7/30/2012, answer due 8/20/2012; Anthem Inc served on
7/30/2012, answer due 8/20/2012; Blue Cross and Blue Shield of Georgia
served on 7/30/2012, answer due 8/20/2012; Blue Cross and Blue Shield of
North Carolina served on 7/30/2012, answer due 8/20/2012; Blue Cross and
Blue Shield of South Carolina served on 7/30/2012, answer due 8/20/2012; Blue

08/01/2012

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Cross and Blue Shieid of Tennessee served on 7/30/2012, answer due 8/20/2012.
(KGE, ) (Entered: 08/01/2012)

08/02/2012 6 | SUMMONS Returned Executed Anthem Blue Cross and Blue Shield of
Connecticut served on 7/30/2012, answer due 8/20/2012; Anthem Blue Cross
and Blue Shield of New Hampshire served on 7/30/2012, answer due 8/20/2012;
Blue Cross and Blue Shield of Florida served on 7/31/2012, answer due
8/21/2012; Blue Cross and Blue Shield of Kansas served on 7/30/2012, answer
due 8/20/2012; Blue Cross and Blue Shield of Massachusetts served on
7/30/2012, answer due 8/20/2012; Blue Cross and Blue Shield of Minnesota
served on 7/30/2012, answer due 8/20/2012; Blue Cross and Blue Shield of
Mississippi served on 7/30/2012, answer due 8/20/2012; Blue Cross and Blue
Shield of Nebraska served on 7/30/2012, answer due 8/20/2012; Blue Cross and
Blue Shield of New Mexico served on 7/30/2012, answer due 8/20/2012; Blue
Cross and Blue Shield of Oklahoma served on 7/31/2012, answer due
8/21/2012; Blue Cross and Blue Shield of Rhode Island served on 7/30/2012,
answer due 8/20/2012; Blue Cross and Blue Shield of Vermont served on
7/30/2012, answer due 8/20/2012; Blue Cross of Northeastern Pennsylvania
served on 7/30/2012, answer due 8/20/2012; Excellus BlueCross BlueShield of
New York served on 7/30/2012, answer due 8/20/2012; Triple S - Salud inc
served on 7/30/2012, answer due 8/20/2012; Wellmark Inc served on 7/30/2012,
answer due 8/20/2012; Wellmark of South Dakota Inc served on 7/29/2012,
answer due 8/20/2012. (AGE) (Entered: 08/02/2012)

SUMMONS Returned Executed Anthem Blue Cross and Blue Shield of Virginia
Inc served on 7/30/2012, answer due 8/20/2012; Arkansas Blue Cross and Blue
Shield served on 7/31/2012, answer due 8/21/2012; Blue Cross and Blue Shield
of Kansas City served on 7/30/2012, answer due 8/20/2012; Blue Cross and
Blue Shield of Texas served on 7/30/2012, answer due 8/20/2012; CareFirst
Blue Cross and Blue Shield of Maryland served on 7/30/2012, answer due
8/20/2012; Hawaii Medical Service Assoc served on 7/30/2012, answer due
8/20/2012; Highmark Blue Cross and Blue Shield of Delaware served on
7/31/2012, answer due 8/21/2012; Highmark Blue Cross, Blue Shield of West
Virginia served on 7/30/2012, answer due 8/20/2012; Horizon Blue Cross and
Blue Shield of New Jersey served on 7/30/2012, answer due 8/20/2012. (KGE, )
(Entered: 08/03/2012)

08/03/2012

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SUMMONS Returned Executed Anthem Health Plans of Maine served on
8/1/2012, answer due 8/22/2012; Blue Cross and Blue Shield of Michigan
served on 7/3 [/2012, answer due 8/21/2012; Independence Blue Cross served
on 8/1/2012, answer due 8/22/2012; Premera Blue Cross of Alaska served on
8/2/2012, answer due 8/23/2012. (KGE, ) (Entered: 08/06/2012)

08/06/2012

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08/07/2012 9 | ORDER-This matter is before the court on the Provider Pltfs' Motion to
Consolidate and Establish Seperate Track (#2 in 2:12-cv-02532-LSC). By
agreement of the parties and over no objection from others, it is ORDERED that
the motion is GRANTED, and that case 2:12-cv-2532-LSC, be consolidated

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with case 2:12-cv-1133-RDP. In the future, all other documents should be
electronically filed only in the lead case, Richards, et al. v. Blue Cross and Blue
Shield of Alabama, et al., 2:12-CV-01133-RDP. Signed by Judge R David
Procter on 8/6/2012. Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(AVC) (Entered: 08/07/2012)

08/07/2012 10 | WATVER OF SERVICE Returned Executed by Jerry L. Conway. Blue Cross and
Blue Shield of Alabama waiver sent on 7/25/2012, answer due 9/24/2012.
(Whatley, Joe) (Entered: 08/07/2012)

08/10/2012 i | NOTICE of Appearance by James L Priester on behalf of Blue Cross and Biue
Shield of Alabama. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-O1910-RDP,
2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-
02532-RDP, 2:12-cv-02537-RDP(Priester, James) Modified on 8/10/2012
(AVC). (Entered: 08/10/2012)

08/16/2012 12 | NOTICE of Appearance by Carl $ Burkhalter on behalf of Blue Cross and Blue
Shield of Alabama. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-
02532-RDP, 2:12-cv-02537-RDP(Burkhalter, Carl) Modified on 8/16/2012
(AVC). (Entered: 08/16/2012)

08/17/2012 [3 | STIPULATION (Agreed) of the Conway Parties by Blue Cross and Blue Shield
Association. filed by Blue Cross and Blue Shield Association Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-

RDP( West, Kimberly) (Entered: 08/17/2012)

08/17/2012 14 | TEXT ORDER - This matter is before the court on the Agreed Stipulation of the
Conway Parties (Doc. # 56), filed August 17,2012, Although the court approves
of the parties' agreement regarding the timing of responsive pleadings, counsel
for Defendants who have not yet appeared are DIRECTED to file notices of
appearance at their earliest convenience in order to receive notices via the
court's CM/ECF system. Signed by Judge R David Proctor on 08/17/12.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-02532-RDP(SFR, ) (Entered:
08/17/2012)

08/17/2012 15

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NOTICE of Appearance by Pamela B Slate on behalf of Blue Cross and Blue
Shield of Alabama, Blue Cross and Blue Shield of Alabama Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-
RDP(Slate, Pamela) (Entered: 08/17/2012)

08/17/2012

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SUMMONS Returned Executed Highmark Inc served on 8/10/2012, answer due
8/31/2012. (AGE, ) (Entered: 08/21/2012)

23 of 32 O72 8:45 AM
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08/20/2012 16 | MOTION for Leave to Appear pro hac vice of Charles R. Watkins by Chris
Bajalieh, Consumer Financial Education Foundation of America Inc. Associated
Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Guin, David) (Entered: 08/20/2012)

08/20/2012 1? | MOTION for Leave to Appear pro hac vice of John R. Wiie by Chris Bajalieh,
Consumer Financial Education Foundation of America Inc. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Guin, David) (Entered: 08/20/2012)

08/21/2012 18 | ORDER-Before the court is the Motion for Admission Pro Hac Vice of Charles
R. Watkins (59 in 2:12-cv-01133-RDP). The motion is CONDITIONALLY
GRANTED. By 8/27/2012, Attorney Watkins SHALL: pay the $50 filing fee,
and Certify to the court that he has read and understands: any local rules
applicable in this District; the Alabama State Bar Pledge of Professionalism; this
court's CM/ECF requirements. Signed by Judge R David Proctor on 8/21/2012.
Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/21/2012 [9 | MOTION for Leave to Appear pro hac vice of John R. Wilie by Chris Bajalieh,
Consumer Financial Education Foundation of America Inc. Associated Cases:
2: 12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: [2-cv-
02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-
RDP(Guin, David) (Entered: 08/21/2012)

08/21/2012 20 | CERTIFICATE of Counsel of Charles R. Watkins in support of Motion to
Appear Pro Hac Vice by David J Guin on behalf of Chris Bajalieh, Consumer
Financial Education Foundation of America Inc Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: {2-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Guin, David)
(Entered: 08/21/2012)

08/21/2012 PHV Fee paid: $100.00, Receipt# B4601036372 for Attorneys Charles R.
Watkins and John R. Wylie. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cy-02532-RDP, 2:]2-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/21/2012 21 | ORDER-Before the court is Motion for Admission Pro Hac Vice of John R.
Wylie (62 in 2:12-cv-01133-RDP). The Motion is CONDITIONALLY
GRANTED. By 8/27/2012, Attorney Wylie SHALL: pay the $50 filing fee, and
Certify to the court that he has read and understands: any local rules applicable
in this District; the Alabama State Bar Pledge of Professionalism; and this
court's CM/ECF requirements. Signed by Judge R David Proctor on 8/21/2012.
Associated Cases: 2:12-cv-O1133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-

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02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-ev-02537-RDP(AVC) (Entered: 08/21/2012)

08/27/2012

23 NOTICE of Appearance by J Bentley Owens, II] on behalf of Premera Blue
Cross of Alaska Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-
02532-RDP, 2: 12-cv-02537-RDP(Owens, J) (Entered: 08/27/2012)
08/27/2012 24 | MOTION for Leave to Appear Pro Hac Vice for Gwendolyn C. Payton by

Premera Blue Cross of Alaska. (Attachments: # | Exhibit AJAssociated Cases:
2:12-cv-O1133-RDP, 2: 12-cv-01910-RDP, 2:12-ev-02169-RDP, 2:12-cv-
02185-RDP, 2:]2-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Owens, J) (Entered: 08/27/2012)

08/27/2012 2

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MOTION for Leave to Appear Pro Hac Vice for Erin M. Wilson by ‘Premera
Blue Cross of Alaska. (Attachments: # | Exhibit A)Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Owens, J)
(Entered: 08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743094 (ALND# B4601036526).
Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2:12-cvy-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2: 12-cy-02537-RDP(Owens, J) Modified on 8/30/2012 (AVC), (Entered:
08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# ‘1126. 1743100 (ALND# 34601036527).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cvy-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Owens, J} Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012 26 | NOTICE of Appearance by John M Johnson on behalf of Blue Cross and Blue
Shield of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Nebraska Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cy-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Johnson, John) (Entered: 08/27/2012)

NOTICE of Appearance by Brian P Kappel on behalf of Blue Cross and Blue
Shield of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Nebraska Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,

2: 12-cy-02532-RDP, 2: 12-cv-02537-RDP(Kappel, Brian) (Entered: 08/27/2012)

08/27/2012 2

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08/27/2012 28 | MOTION for Limited Admission (Pro Hac Vice of Kathleen Taylor Sooy) by
Blue Cross and Blue Shield of Kansas, Blue Cross and Blue Shield of Kansas
City, Blue Cross and Blue Shield of Nebraska. (Attachments: # | Exhibit
DAssociated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-

25 of 32 9/7/12 8:45 AM
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02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Johnson, John) (Entered: 08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743195 (ALND# B4601036529).
Associated Cases: 2:12-cv-01133-RDP, ?:12-cv-01910-R DP, 2: 12-ev-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(VJohnson, John) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012 29 | MOTION for Limited Admission (Pro Hac Vice of Tracy A. Roman) by Blue
Cross and Blue Shield of Kansas, Blue Cross and Blue Shield of Kansas City,
Blue Cross and Blue Shield of Nebraska. (Attachments: # | Exhibit
LAssociated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,

2: 12-ev-02537-RDP(Johnson, John) (Entered: 08/27/2012)

08/27/2012 PHY Fee paid: $50, Receipt# 1126-1743214 (ALND# B4601036530).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-O1910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Johnson, John) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012 30 |) SUMMONS Returned Executed Blue Cross and Blue Shield Association served
on 8/1/2012, answer due 8/22/2012. (AGE, ) (Entered: 08/28/2012)

08/29/2012 31 | ORDER: 70 and 71 , Motions for Leave to Appear PHV for Kathleen Taylor
Sooy and Tracy Roman are GRANTED; 66 and 67 , Motions for Leave to
Appear Pro Hac Vice for Gwendolyn Payton and Erin Wilson are
CONDITIONALLY GRANTED, as further set out in order. Signed by Judge R
David Proctor on 08/29/12. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2:12-cv-02537-RDP(CVA) Modified on 8/29/2012 (CVA).
(Entered: 08/29/2012)

08/30/2012 32 | SUMMONS Returned Executed Health Care Service Corp served (no date on
green card) (KGE, ) (Entered: 08/30/2012)

08/30/2012 33 | NOTICE of Appearance by Cavender C Kimble on behalf of Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missourt, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Biue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cy-

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02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

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MOTION for Leave to Appear Pro Hac Vice Craig A. Hoover by Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,

08/30/2012 35 | MOTION for Leave to Appear Pro Hac Vice J. Robert Robertson by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of New Hampshire, Anthem Blue Cross and Blue Shield of Virginia Inc,
Anthem Blue Cross and Shield of Missouri, Anthem Health Plans of Maine,
Anthem Inc, Blue Cross and Blue Shield of Florida, Blue Cross and Blue Shield
of Georgia, Blue Cross and Blue Shield of Louisiana, Blue Cross and Blue
Shield of Massachusetts, Blue Cross and Blue Shield of Minnesota, Blue Cross
and Blue Shield of North Carolina, Blue Cross and Blue Shield of South
Carolina, Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield
of New Jersey, Wellmark of South Dakota Inc. Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cy-02169-RDP, 2: 12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Kimble,
Cavender) (Entered: 08/30/2012)

08/30/2012 36 | MOTION for Leave to Appear Pro Hac Vice Emily M. Yinger by Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Biue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cy-01133-RDP, 2:12-cy-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,

27 of 32 O/7F/12 8:45 AM
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08/30/2012 37 | MOTION for Leave to Appear Pro Hac Vice &. Desmond Hogan by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem
Blue Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2; 12-cv-02532-RDP,

2: 12-cv-02537- RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 38 | NOTICE of Appearance by D Keith Andress on behalf of Blue Cross and Blue
Shield of Tennessee Associated Cases: 2:12-cv-01133-RDP, 2:12-cy-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,

2: 12-cv-02532- RDP, 2: 12-ev-02537- RDP(Andress, D) (Entered: 08/30/2012)

08/30/2012 39 | MOTION for Leave to Appear Pro Hac Vice N. Thomas Connally by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem
Blue Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cy-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 40 | NOTICE of Appearance by Kevin R Garrison on behalf of Blue Cross and Blue
Shield of Tennessee Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,

2: 12-ev-02532-RDP, 2: 12-cv-02537-RDP(Garrison, Kevin) (Entered:
08/30/2012)

08/30/2012 41 | NOTICE of Appearance by Emily M Yinger on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missourt,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross

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and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,

Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New

Jersey, Wellmark of South Dakota Inc Associated Cases; 2:12-cy-01133-RDP,

2: {2-cv-O1910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2; ]2-cv-

02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Yinger, Emily) (Entered:
08/30/2012)

08/30/2012 42 | NOTICE of Appearance by N Thomas Connally, III on behalf of Anthem Biue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Biue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Blue Cross and Blue Shield of
Tennessee, Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield
of New Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cy-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Connally, N)
(Entered: 08/30/2012)

NOTICE of Appearance by E Desmond Hogan on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2: 12-cy-02532-RDP, 2:12-cv-02537-RDP(Hogan, E) (Entered:
08/30/2012)

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NOTICE of Appearance by Craig A Hoover on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,

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Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Hoover, Craig) (Entered:
08/30/2012)

08/3 1/2012 45 | NOTICE of Appearance by J Robert Robertson on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Robertson, J) (Entered:
08/31/2012)

08/3 1/2012 46 | ORDER-Before the court are Motions for Admission Pro Hac Vice on behalf of
Craig A. Hoover 74 , J. Robert Robertson 75 , Emily M. Yinger 76 , E.
Desmond Hogan 77 , and N. Thomas Connally 79 . The motions are
CONDITIONALLY GRANTED. By 9/7/2012, the Attorneys seeking admission
SHALL pay the $50 pro hac vice fee; and Certify to the court that they have
read and understand: any local rules applicable in this District; the Alabama
State Bar Pledge of Professionalism; this court's CM/ECF requirements. Signed
by Judge R David Proctor on 8/30/2012. Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cy-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cy-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(AVC) (Entered:
08/31/2012)

08/31/2012 PHV Fee paid: $250.00, Receipt# B4601036604, for Attorneys Craig A.
Hoover, J. Robert Robertson, Emily M. Yinger, E. Desmond Hogan and N.
Thomas Connally. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-
02532-RDP, 2:12-cv-02537-RDP(AVC) (Entered: 08/31/2012)

09/04/2012 47 | NOTICE of Compliance re: Attorneys Gwendolyn C. Payton and Erin M.
Wilson by Premera Blue Cross of Alaska re (31 in 2:12-cv-02532-
RDP)\(Attachments: # | Exhibit Application and Declaration of Gwendolyn C.
Payton in Support of Motion for Admission Pro Hac Vice, # 2 Exhibit
Application and Declaration of Erin M. Wilson in Support of Motion for
Admission Pro Hac Vice)Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
O1910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Owens, J) Modified on 9/4/2012

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(AVC). (Entered: 09/04/2012)

09/04/2012 48 | MOTION to be Appointed Lead Counsel in the Provider Track by Jerry L
Conway. (Attachments: # | Exhibit 1, #2 Exhibit 2)Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP( Whatley, Joe)
Modified on 9/4/2012 (AVC). (Entered: 09/04/2012)

09/04/2012 49 | Brief re(50 j in 2: 12-cv-01133-RDP) Order,, Application to Appoint Cohen
Milstein as Interim Class Counsel and John D. Saxon as Interim Liaison
Counsel. (Attachments: # 1 Exhibit A, #2 Exhibit B, #3 Exhibit C, #4 Exhibit
D, #5 Exhibit E, # 6 Exhibit F, #7 Exhibit G, # 8 Exhibit H)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02.185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-
RDP(Small, Daniel) (Entered: 09/04/2012)

09/04/2012 50 | JOINT Application of Boies, Schiller & Flexner LLP, Donal dson & Guin, LLC,
and Pittman, Dutton & Hellums, PC to Serve as Interim co-Lead Counsel by
Nicholas A Layman, One Stop Environmental, LLC. (Attachments: # 1 Exhibit
A, #2 Exhibit B, #3 Exhibit C, #4 Exhibit D, #5 Exhibit E)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Hellums, Christopher) Modified on 9/5/2012 (AVC). (Entered:
09/04/2012)

MOTION to Appoint Counsel Greg Davis Interim Lead Class Counsel in the
Subscriber Track by GC Advertising LLC. Associated Cases: 2:12-cv-
01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Davis, Gregory)
Modified on 9/5/2012 (AVC). (Entered: 09/04/2012)

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09/05/2012 52 | CERTIFICATION of Emily M. Yinger Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Yinger, Emily) Modified
on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 §3 | CERTIFICATION of N. Thomas Connally Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Connally, N)
Modified on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 54 | CERTIFICATION of E. Desmond Hogan Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Hogan, E}
Modified on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 55 | CERTIFICATION of Craig A. Hoover Associated Cases: 2:12-cv-01133-RDP,

2: 12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cy-

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02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Hoover, Craig) Modified
on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 56 | CERTIFICATIION of J. Robert Robertson Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP,
2: 12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Robertson, J)
Modified on 9/6/2012 (AVC), (Entered: 09/05/2012)

09/06/2012 57 | SUPPLEMENT to the Application to Appoint Cohen Milstein as Interim Class
Counsel and John D. Saxon as Interim Liason Counsel (89 in 2:12-cv-
01133-RDP) by Thomas A Carder, Jr, Industrical Sales & Service LLC,
American Electric Motor Services Inc, Fred R Richards, Richards and Sons
Construction Company Inc Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP,
2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Small, Daniel) Modified on 9/7/2012
(AVC), (Entered: 09/06/2012)

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ALABAMA
SOUTHERN DIVISION

Jerry L. Conway, D.C., on behalf of
himself and all others similarly situated,

Plaintiff
v,

Blue Cross and Blue Shield of Alabama,
Anthem, Inc., Premera Blue Cross of
Alaska, Arkansas Blue Cross and Blue
Shield, Anthem Blue Cross and Blue Shield
of Connecticut, Highmark Blue Cross and
Blue Shield of Delaware, Blue Cross and
Blue Shield of Florida, Blue Cross and Blue
Shield of Georgia, Hawaii Medical Service
Assoc. d/b/a Blue Cross and Blue

Shield of Hawaii, Health Care Service
Corp. d/b/a/ Blue Cross and Blue Shield

of Illinois, Anthem Blue Cross and Blue
Shield of Indiana, Wellmark, Inc. d/b/a
Blue Cross and Blue Shield of Iowa, Blue
Cross and Blue Shield of Kansas, Blue
Cross and Blue Shield of Louisiana,
Anthem Health Plans of Maine, CareFirst
Blue Cross and Blue Shield of Maryland,
Blue Cross and Blue Shield of
Massachusetts, Blue Cross and Blue Shield )
of Michigan, Blue Cross and Blue Shield of )
Minnesota, Blue Cross and Blue Shield of —)
Mississippi, Anthem Blue Cross and Shield }
of Missouri, Blue Cross and Blue Shield of )
Kansas City, Blue Cross and Blue

Shield of Nebraska, Anthem Blue

Cross and Blue Shield of New Hampshire,
Horizon Blue Cross and Blue Shield of New )
Jersey, Blue Cross and Blue Shield of New)
Mexico, Excellus BlueCross BlueShield of )
New York, Blue Cross and Blue Shield of )
North Carolina, Blue Cross and Blue Shield )
Of Oklahoma, Blue Cross of Northeastern )}

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CLASS ACTION COMPLAINT

JURY TRIAL DEMANDED

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N.D. OF ALABAS
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Pennsylvania — Wilkes-Barre, Highmark,
Inc., Independence Blue Cross, Triple S ~
Salud, Inc., Blue Cross and Blue Shield of
Rhode Island, Blue Cross and Blue Shield
of South Carolina, Wellmark of South
Dakota, Inc. d/b/a Wellmark Blue Cross
and Blue Shield of South Dakota,

Blue Cross and Blue Shield of

Tennessee, Blue Cross and Blue Shield of
Texas, Blue Cross and Blue Shield of
Vermont, Anthem Blue Cross and Blue
Shield of Virginia, Inc., Highmark Blue
Cross, Blue Shield of West Virginia and
Blue Cross and Blue Shield

Association,

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Defendants.

CLASS ACTION COMPLAINT

Plaintiff, Jerry L. Conway, D.C., on behalf of himself and all others similarly situated,
for his Complaint against Defendants, Blue Cross and Blue Shield of Alabama, Anthem, Inc.,
Premera Blue Cross and Blue Shield of Alaska, Arkansas Blue Cross and Blue Shield, Anthem
Blue Cross and Blue Shield of Connecticut, Highmark Blue Cross and Blue Shield of Delaware,
Blue Cross and Blue Shield of Florida, Blue Cross and Blue Shield of Georgia, Hawaii Medical
Service Association d/b/a Blue Cross and Blue Shield of Hawaii, Health Care Service
Corporation d/b/a/ Blue Cross and Blue Shield of Illinois, Anthem Blue Cross and Blue Shield of
Indiana, Wellmark, Inc. d/b/a/ Blue Cross and Blue Shield of Iowa, Blue Cross and Blue Shield
of Kansas, Blue Cross and Blue Shield of Louisiana, Anthem Health Plans of Maine, CareFirst
Blue Cross and Blue Shield of Maryland, Blue Cross and Blue Shield of Massachusetts, Blue
Cross and Blue Shield of Michigan, Blue Cross and Blue Shield of Minnesota, Blue Cross and

Blue Shield of Mississippi, Anthem Blue Cross and Blue Shield of Missouri, Blue Cross and
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Blue Shield of Kansas City, Blue Cross and Blue Shield of Nebraska, Anthem Blue Cross and
Blue Shield of New Hampshire, Horizon Blue Cross and Blue Shield of New Jersey, Blue Cross
and Blue Shield of New Mexico, Excellus BlueCross BlueShield of New York, Blue Cross and
Blue Shield of North Carolina, Blue Cross and Blue Shield of Oklahoma, Blue Cross of
Northeastern Pennsylvania — Wilkes-Barre, Highmark, Inc., Independence Blue Cross, Triple S —
Salud, Inc., Blue Cross and Blue Shield of Rhode Island, Blue Cross and Blue Shield of South
Carolina, Wellmark, Inc. of South Dakota, Inc. d/b/a Wellmark Bine Cross and Blue Shield of
South Dakota, Blue Cross and Blue Shield of Tennessee, Blue Cross and Blue Shield of Texas,
Blue Cross and Blue Shield of Vermont, Anthem Blue Cross and Blue Shield of Virginia,
Highmark Blue Cross and Blue Shield of West Virginia (collectively, “BCBS Defendants”) and
the Blue Cross and Blue Shield Association ("BCBSA" or the “Association”), alleges violations

of antitrust laws as follows:

INTRODUCTION

1. The BCBS Defendants have violated the federal antitrust laws by explicitly
agreeing not to compete with each other. Instead, Defendants have conspired to divide the
healthcare market in the United States into geographically defined regions in order to allow each
BCBS pian an exclusive, competition-free slice of the healthcare market.

2. The Defendants’ market allocation agreement constitutes a per se violation of
Section | of the Sherman Act, 15 U.S.C. § 1.

3. The Defendants’ conduct has harmed competition and has directly injured
healthcare providers as well as healthcare consumers in a manner the antitrust laws were enacted

to prohibit.
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4, Defendants’ illegal conspiracy has perpetuated and strengthened the dominant
market position each BCBS plan enjoys in its specifically defined geographic market.

5. Health insurance plans operating under the Blue Cross and Blue Shield
trademarks and trade names provide health insurance coverage for approximately 100 million —
or one in three — Americans. In fact, a BCBS licensee is the largest health insurer, as measured
by number of subscribers, in forty-four (44) states

6. Given the lack of competition in the healthcare market and the Blues’ resulting
dominant market position, the BCBS Defendants have the unfettered power to force healthcare
providers into a quintessential Catch 22 situation of either acquiescing to anticompetitive rates
and terms or foregoing access to a dominant portion of healthcare subscribers.

7. Because the BCBS Defendants and other Blues have agreed not to compete and
have established and solidified their dominant market position, healthcare providers have
virtually no bargaining power. Defendants have, in fact, rigged the deck to be certain the BCBS
Defendants hold all the cards. As a result, healthcare providers are subject to much lower rates
and less favorable terms than they would be absent the Defendants’ agreement not to compete.

8. On the other hand, a healthcare provider that opts not to accept the dismal
contract terms offered by the provider’s geographically dominant Blue necessarily operate in a
severely limited market. For example, BCBS Alabama controls access to 93% of subscribers in
the State of Alabama. Other BCBS Defendants also enjoy unrivaled market share in their
respective states or within areas of their states. Most healthcare providers simply cannot survive
economically as out-of-network providers given the dominant market position the Blues have

achieved through their conspiracy not to compete. Providers such as Plaintiff who do manage to
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operate outside a BCBS network receive far less income than they would absent Defendants’
conduct.

9. These limitations would not be possible if the market for health insurance was
truly competitive and if the BCBS Defendants and the other Blues were not conspiring to divide
markets and eliminate competition. In addition, the agreements among the BCBSA entities
prohibit the sale or transfer of provider networks to non-Blue members and, thereby, further
restrain competition. It has been recognized that the acquisition of a provider network is perhaps
the most significant barrier to entry for health insurers considering entering a new geographic
market, and that the cost of internally developing rather than acquiring such network is often
considered prohibitive. As a result, the contractual restrictions established through BCBSA and
agreed to by member Blues create an immense barrier to entry into the market for health
insurance in the states dominated by BCBS Defendants. The agreements created amongst the
BCBSA entities not only create constraints for providers in negotiating with BCBS Defendants,
but also create an immense barrier to entry into the market for health insurance in the states
occupied by BCBS Defendants. Fair competition is not possible so long as the BCBS
Defendants and BCBSA are permitted to enter into agreements that have the actual and intended
effect of restricting the ability of health insurance companies from competing in certain
territories.

10. As the Defendants are no doubt aware, free competition would lessen the
disparity in power between the BCBS Defendants and healthcare providers and would, therefore,
result in higher rates, better terms and more equitable treatment of healthcare providers. Lack of

free competition has also resulted in skyrocketing premiums.
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11. This arrangement via the BCBSA is a naked territorial restrain on competition in
the market for health insurance.

12. Defendants’ conspiracy has harmed competition and, absent injunctive relief,
Defendants’ practices will continue unabated to the detriment of competition and to the harm of

healthcare providers such as Plaintiff.

JURISDICTION AND VENUE

13. This Court has federal question jurisdiction pursuant to 28 U.S.C. §§ 1331 and
1337(a) because Plaintiff brings his claims under Sections 4 and 16 of the Clayton Act, 15
U.S.C. §§ 15 and 26, to recover treble damages and costs of suit, including reasonable attorneys’
fees, against BCBSA and BCBS Defendants for the injuries sustained by Plaintiff and the Class
by reason of the violations, as hereinafter alleged, of Sections 1 and 2 of the Sherman Act, 15
U.S.C. §§ 1 and 2.

14. This action is also instituted to secure injunctive relief against BCBSA and BCBS
Defendants to prevent them from further violations of Sections 1 and 2 of the Sherman Act.

15. Venue is proper in this district pursuant to Sections 4, 12 and 16 of the Clayton
Act, 15 U.S.C. §§ 15, 22, and 26, and 28 U.S.C. § 1391.

INTERSTATE COMMERCE

16. Defendants and their co-conspirators’ activities were within the flow of and
substantially affected interstate commerce.

17. BCBSA and its co-conspirators operate on a nationwide basis. Health insurers
operating under the Blue Cross and Blue Shield trademarks and trade names provide health
insurance operate throughout the United States providing coverage for approximately 100

million — or one in three - Americans. BCBSA enters into agreements with each of these
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insurers. Each BCBS Defendant provides health insurance coverage to subscribers in its defined
geographical area and also throughout the United States when the plan’s insureds travel outside
of their home states. Moreover, communications between Defendants have occurred through
interstate communications. Accordingly, BCBSA and the BCBS Defendants are engaged in
interstate commerce.

18. Defendants’ illegal agreements and conspiracy have had a direct, substantial, and
reasonably foreseeable effect on commerce between the states.

PARTIES

Plaintiff

19, Plaintiff, Jerry L. Conway, D.C. is a chiropractor who practiced in Alabama for
thirty-eight years until his retirement in 2010. Dr. Conway was an in-network healthcare
provider with Blue Cross and Blue Shield of Alabama and primarily treated patients insured by
Blue Cross and Blue Shield of Alabama.

Defendants

20. Defendant Blue Cross and Blue Shield of Alabama is the health insurance plan
operating under the Blue Cross and Blue Shield trademarks and trade names in Alabama. Blue
Cross and Blue Shield of Alabama is by far the largest provider of healthcare benefits in
Alabama, providing coverage to more than three million people. The principal headquarters for
BCBS-AL is located at 450 Riverchase Parkway East, Birmingham, Alabama. Blue Cross and
Blue Shield of Alabama is referred to as “Blue Cross and Blue Shield of Alabama” or “BCBS-
AL” in this Complaint.

21. Defendant Anthem, Inc. is an Indiana corporation with its corporate headquarters
at 120 Monument Circle, Indianapolis, Indiana. Through its subsidiary Anthem Insurance

Companies, Inc., also an Indiana corporation, Anthem, Inc. provides healthcare benefits through
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Blue Cross and Blue Shield plans in fourteen states. Anthem, Inc., its subsidiaries, and health
care plans are collectively referred to as “Anthem” in this Complaint.

22. Defendant Premera Blue Cross of Alaska is an Alaska corporation with its
corporate headquarters located at 2550 Denali Street, Suite 1404,
Anchorage, AK 99503. Premera is the parent corporation of a number of subsidiaries that
provide health care services to approximately 1.3 million members in various health care plans.
Premera Blue Cross of Alaska, its subsidiaries, and health care plans are collectively referred to
as “Blue Cross of Alaska” or “BC-AK” in this Complaint. BC-AK exercises market dominance
in the state of Alaska or within areas of the state.

23. Defendant Arkansas Blue Cross and Blue Shield is an Arkansas corporation with
its corporate headquarters located at 601 S. Gaines Street, Little Rock, Arkansas 72201. It is the
parent corporation of a number of subsidiaries that provide health care services to approximately
860,000 enrollees in various health care plans in Arkansas. Arkansas Blue Cross and Blue
Shield, its subsidiaries and health care plans are collectively referred to as ‘““Arkansas Blue Cross
and Blue Shield” or “BCBS-AR” in this Complaint. BCBS-AR exercises market dominance in
the state of Arkansas or within areas of the state.

24, Anthem Blue Cross and Blue Shield of Connecticut is a Connecticut corporation
with its corporate headquarters located at 370 Bassett Road, North Haven, Connecticut 06473. It
is the parent corporation of a number of subsidiaries that provide health care services to
approximately 1.2 million enrollees in various health care plans in Connecticut. Anthem Blue
Cross and Blue Shield of Connecticut, its subsidiaries and health plans are collectively referred
to as “Blue Cross and Blue Shield of Connecticut” or “BCBS-CT.” BCBS-CT exercises market
dominance in the state of Connecticut or within areas of the state.

25. Defendant Highmark Blue Cross and Blue Shield of Delaware is a Delaware
corporation with its corporate headquarters located at 800 Delaware Avenue, Wilmington,
Delaware 19801. Highmark Blue Cross and Blue Shield of Delaware provides health care

services to approximately 396,000 members in various health care plans in Delaware. Highmark
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Blue Cross and Blue Shield of Delaware, its subsidiaries, and health care plans are collectively
referred to as “Highmark Blue Cross and Blue Shield of Delaware” or “BCBS-DE”. BCBS-DE
exercises market dominance in the state of Delaware or within areas of the state.

26. Defendant Blue Cross and Blue Shield of Florida is a Florida corporation with its
corporate headquarters located at 4800 Deerwood Campus Parkway, Jacksonville, Florida
32246. It is the parent corporation of a number of subsidiaries that provide health care services
to approximately 7 million enrollees in various health care plans in Florida. Blue Cross and Blue
Shield of Florida, its subsidiaries and health care plans are collectively referred to as “Blue Cross
and Blue Shield of Florida” or “BCBS-FL” in this Complaint. BCBS-FL exercises market
dominance in the state of Florida or within areas of the state.

27. Defendant Blue Cross and Blue Shield of Georgia is a Georgia corporation with
its corporate headquarters located at 3350 Peachtree Road, N.E., Atlanta, Georgia 30326. It is
the parent corporation of a number of subsidiaries that provide health care services to
approximately 2.1 million enrollees in various health care plans in Georgia. Blue Cross and Blue
Shield of Georgia, its subsidiaries and health care plans are collectively referred to as “Blue
Cross and Blue Shield of Georgia” or “BCBS-GA” in this Complaint. BCBS-GA exercises
dominance in the state of Georgia or within areas of the state.

28. Defendant Hawaii Medical Service Association d/b/a Blue Cross and Blue Shield
of Hawaii is a Hawaii corporation with its corporate headquarters located at 818 Keeaumoku
Street, Honolulu, Hawaii 96814. It is the parent corporation of a number of subsidiaries that
provide health care services to approximately 676,000 members in various health care plans in
Hawaii. Hawaii Medical Service Association, its subsidiaries, and health care plans are
collectively referred to as “Hawaii Medical Service Association” or “BCBS-HI” in this
Complaint. BCBS-HI exercises market dominance in the state of Hawaii or within areas of the
state.

29, Defendant Health Care Service Corp. d/b/a Blue Cross and Blue Shield of Illinois

is a Illinois corporation with its corporate headquarters located at 300 East Randolph Street,
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Chicago, Illinois 60601. It is the parent corporation of a number of subsidiaries that provide
health care services to approximately 6.5 million members in various health care plans in Illinois.
Health Care Service Corp. is a customer-owned health benefits company that purports to focus
on improving the health and wellness of its members and communities. Blue Cross and Blue
Shield of Ilhnois, its subsidiaries, and health care plans are collectively referred to as “Blue
Cross and Blue Shield of Illinois” or “BCBS-IL” in this Complaint. BCBS-IL exercises market
dominance in the state of [Hinois or within areas of the state.

30. Defendant Anthem Blue Cross and Blue Shield of Indiana is an Indiana
corporation with its corporate headquarters located at 120 Monument Circle, Indianapolis,
Indiana 46204. It is the parent corporation of a number of subsidiaries that provide health care
services to enrollees in various health care plans in Indiana. Blue Cross and Blue Shield of
Indiana, its subsidiaries and health care plans are collectively referred to as “Blue Cross and Blue
Shield of Indiana” or “BCBS-IN” in this Complaint. BCBS-IN exercises market dominance in
the state of Indiana or within areas of the state.

31. Defendant Wellmark, Inc. d/b/a Blue Cross and Blue Shield of Iowa. Together,
Wellmark and its subsidiaries provide health care services to approximately 1.4 million members
in lowa. Defendant Blue Cross and Blue Shield of Iowa is an Iowa corporation with its
corporate headquarters located at 1331 Grand Avenue, Des Moines, Iowa 50306. BCBS-IA
exercises market dominance in the state of Jowa or within areas of the state.

32. Defendant Blue Cross and Blue Shield of Kansas is a Kansas corporation with its
corporate headquarters located at 1133 SW Topeka Boulevard, Topeka, Kansas 66629. Blue
Cross and Blue Shield of Kansas is the parent corporation of a number of subsidiaries that
provide health care services to approximately 880,000 members in various health care plans in
Kansas. Blue Cross and Blue Shield of Kansas, its subsidiaries, and health care plans are
collectively referred to as “Blue Cross and Blue Shield of Kansas” or “BCBS-KS.” BCBS-KS

exercises market dominance in the state of Kansas or within areas of the state.

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33. Defendant Blue Cross and Blue Shield of Louisiana is a Louisiana corporation
with its corporate headquarters located at 5525 Reitz Avenue, Baton Rouge, Louisiana 70809. It
is the parent corporation of a number of subsidiaries that provide health care services to
approximately 858,000 enrollees in various health care plans Louisiana. Blue Cross and Blue
Shield of Louisiana, its subsidiaries and health care plans are collectively referred to as “Blue
Cross and Blue Shield of Louisiana” or “BCBS-LA” in this Complaint. BCBS-LA exercises
market dominance in the state of Louisiana or within areas of the state.

34. Defendant Anthem Health Plans of Maine is a Maine corporation with its
corporate headquarters located at 2 Gannett Drive, South Portland, Maine 04016. It is the parent
corporation of a number of subsidiaries that provide health care services to approximately
140,000 enroilees in various health care plans in Maine. Anthem Health Plans of Maine, its
subsidiaries and health care plans are collectively referred to as “Anthem Blue Cross and Blue
Shield of Maine” or “BCBS-ME” in this Complaint. BCBS-ME exercises market dominance in
the state of Maine or within areas of the state.

35. Defendant CareFirst Blue Cross and Blue Shield of Maryland is a Maryland
corporation with its corporate headquarters located at 10455 and 10453 Mill Run Circle, Owings
Mill, Maryland 21117. It is the parent corporation of a number of subsidiaries that provide
health care services to enrollees in various health care plans in Maryland. CareFirst Blue Cross
and Blue Shield of Maryland, its subsidiaries and health care plans are coilectively referred to as
“Blue Cross and Blue Shield of Maryland” or “BCBS-MD” in this Complaint. BCBS-MD
exercises market dominance in the state of Maryland or within areas of the state.

36. Defendant Blue Cross and Blue Shield of Massachusetts is a Massachusetts
corporation with its corporate headquarters located at 401 Park Drive, Boston, Massachusetts
02215. It is the parent corporation of a number of subsidiaries that provide health care services
to approximately 2.4 million enrollees in various health care plans in Massachusetts. Blue Cross

and Blue Shield of Massachusetts, its subsidiaries and health care plans are collectively referred

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to as “Blue Cross and Blue Shield of Massachusetts” or “BCBS-MA” in this Complaint. BCBS-
MA exercises market dominance in the state of Massachusetts or within areas of the state.

37. Defendant Blue Cross and Blue Shield of Michigan is a Michigan corporation
with its corporate headquarters located at 600 E. Lafayette Blvd., Detroit, Michigan 48226. It is
the parent corporation of a number of subsidiaries that provide health care services to
approximately 4.8 million enrollees in various health care plans in Michigan. Blue Cross and
Blue Shield of Michigan, its subsidiaries and health care plans are collectively referred to as
“Blue Cross and Blue Shield of Michigan” or “BCBS-MI” in this Complaint. BCBS-MI
exercises market dominance in the state of Michigan or in areas of the state.

38. Defendant Blue Cross and Blue Shield of Minnesota is a Minnesota corporation
with its corporate headquarters located at 3535 Blue Cross Road, St. Paul, Minnesota 55164. It
is the parent corporation of a number of subsidiaries that provide health care services to
approximately 2 million enrollees in various health care plans in Minnesota, Blue Cross and
Blue Shield of Minnesota, its subsidiaries and health care plans are collectively referred to as
“Blue Cross and Blue Shield of Minnesota” or “BCBS-MN” in this Complaint. BCBS-MN
exercises market dominance in the state of Minnesota or in areas of the state.

39. Defendant Blue Cross and Blue Shield of Mississippi is a Mississippi corporation
with its corporate headquarters located at 3545 Lakeland Drive, Flowood, Mississippi 39232. It
is the parent corporation of a number of subsidiaries that provide health care services to
approximately 1 million enrollees in various health care plans in Mississippi. Blue Cross and
Blue Shield of Mississippi, its subsidiaries and health care plans are collectively referred to as
“Blue Cross and Blue Shield of Mississippi” or “BCBS-MS” in this Complaint. BCBS-MS
exercises market dominance in the state of Mississippi or within areas of the state.

40. Defendant Anthem Blue Cross and Blue Shield of Missouri is a Missouri
Corporation with its corporate headquarters located at 1831 Chestnut Street, St. Louis, Missouri
63103. It is the parent corporation of a number of subsidiaries that provide health care services

to approximately 2.8 million enrollees in a various health care plans in Missouri. Anthem Blue

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Cross and Blue Shield of Missouri, its subsidiaries and health care plans are collectively referred
to as “Blue Cross and Blue Shield of Missouri” or “BCBS-MO” in this Complaint. BCBS-MO
exercises market dominance in the state of Missouri or within areas of the state.

41. Defendant Blue Cross and Blue Shield of Kansas City is a Missouri corporation
with its corporate headquarters located at 2301 Main Street, One Pershing Square, Kansas City,
Missouri 64108. It is the parent corporation of a number of subsidiaries that provide health care
services to approximately 805,000 enrollees in various health care plans in Missouri. Blue
Cross and Blue Shield of Kansas City, its subsidiaries and health care plans are collectively
referred to as “Blue Cross and Blue Shield of Kansas City or “BCBS — Kansas City” in this
Complaint. BCBS-Kansas City exercises market dominance in the state of Missouri or within
areas of the state.

42. Defendant Blue Cross and Blue Shield of Nebraska is a Nebraska corporation
with its corporate headquarters located at 1919 Aksarban Drive, Omaha, Nebraska 68180. It is
the parent corporation of a number of subsidiaries that provide health care services to
approximately 620,000 enrollees in various health care plans in Nebraska. Blue Cross and Blue
Shield of Nebraska, its subsidiaries and health care plans are collectively referred to as “Blue
Cross and Blue Shield of Nebraska” or “BCBS-NE” in this Complaint. BCBS-NE exercises
market dominance in the state of Nebraska or within areas of the state.

43. Defendant Anthem Blue Cross and Blue Shield of New Hampshire is a New
Hampshire corporation with its corporate headquarters located at 300 Goffs Falls Road,
Manchester, New Hampshire 03111. It is the parent corporation of a number of subsidiaries that
provide health care services to enrollees in various health care plans in New Hampshire. Anthem
Blue Cross and Blue Shield of New Hampshire, its subsidiaries and health care plans are
collectively referred to as “Blue Cross and Blue Shield of New Hampshire” or “BCBS-NH” in
this Complaint. BCBS-NH exercises market dominance in the state of New Hampshire or within

areas of the state.

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44. Defendant Horizon Blue Cross and Blue Shield of New Jersey is a New Jersey
corporation with its corporate headquarters located at Three Penn Plaza East, Newark, New
Jersey 07105. It is the parent corporation of a number of subsidiaries that provide health care
services to approximately 2 million enrollees in various health care plans New Jersey. Horizon
Blue Cross and Blue Shield of New Jersey, its subsidiaries and health care plans are collectively
referred to as “Blue Cross and Blue Shield of New Jersey” or “BCBS-NJ” in this Complaint.
BCBS-NJ exercises market dominance within the state of New Jersey or within areas of the state.

45. Defendant Blue Cross and Blue Shield of New Mexico is a New Mexico
corporation with its corporate headquarters located at 5701 Balloon Fiesta Parkway Northeast,
Albuquerque, New Mexico 87113. It is the parent corporation of a number of subsidiaries that
provide health care services to approximately 236,000 enrollees in various health care plans in
New Mexico, Blue Cross and Blue Shield of New Mexico, its subsidiaries and health care plans
are collectively referred to as “Blue Cross and Blue Shield of New Mexico” or “BCBS-NM” in
this Complaint. BCBS-NM exercises market dominance within the state of New Mexico or
within areas of the state.

46. Defendant Excellus BlueCross BlueShield of New York is a New York
corporation with its corporate headquarters located at 333 Butternut Drive, Syracuse, New York
13214-1803. It is the parent corporation of a number of subsidiaries that provide health care
services to enrollees in various health care plans in the State of New York. Excellus Blue Cross
Blue Shield of New York, its subsidiaries and health care plans are collectively referred to as
“Excellus Blue Cross and Blue Shield of New York” or “BCBS-NY-Excellus” in this
Complaint. BCBS-NY-Excellus exercises market dominance in the state of New York or within
areas of the state.

47. Defendant Blue Cross and Blue Shield of North Carolina is a North Carolina
corporation with its corporate headquarters located at 5901 Chapel Hill Road, Durham, North
Carolina 27707. It is the parent corporation of a number of subsidiaries that provide health care

services to approximately 3.6 million members in various health care plans in North Carolina.

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Blue Cross and Blue Shield of North Carolina, its subsidiaries, and health care plans are
collectively referred to as “Blue Cross and Blue Shield of North Carolina” or “BCBS-NC.”
BCBS-NC exercises market dominance in the state of North Carolina or within areas of the state.

48. Defendant Blue Cross and Blue Shield of Oklahoma is an Oklahoma corporation
with its corporate headquarters located at 1400 South Boston, Tulsa, Oklahoma 74119. It is the
parent corporation of a number of subsidiaries that provide health care services to approximately
2.8 million enrollees in various health care plans in Oklahoma. Blue Cross and Blue Shield of
Oklahoma, its subsidiaries and health care plans are collectively referred to as “Blue Cross and
Blue Shield of Oklahoma” or “BCBS-OK” in this Complaint. BCBS-OK exercises market
dominance within the state of Oklahoma or within areas of the state.

49, Defendant Blue Cross of Northeastern Pennsylvania — Wilkes-Barre is a
Pennsylvania corporation with its corporate headquarters located at 19 North Main Street,
Wilkes-Barre, Pennsylvania 18711. It is the parent corporation of a number of subsidiaries that
provide health care services to approximately 570,000 enrollees in various health care plans in
Pennsylvania. Blue Cross of Northeastern Pennsylvania — Wilkes-Barre, its subsidiaries and
health care plans are collectively referred to as “Blue Cross of Northeastern Pennsylvania —
Wilkes Barre” or “BCBS-NE PA-Wilkes Barre” in this Complaint. BCBS-NE PA ~ Wilkes-
Batre exercises market dominance in the state of Pennsylvania or within areas of the state.

50. Defendant Highmark, Inc. is a Pennsylvania corporation with its corporate
headquarters located at 1800 Center Street, Camp Hill, Pennsylvania 17011. It is the parent
corporation of a number of subsidiaries that provide health care services to approximately 1.9
million enrollees in Pennsylvania. Highmark, Inc., its subsidiaries and health care plans are
collectively referred to as “Highmark” in this Complaint. Highmark exercises market dominance
in the state of Pennsylvania or within areas of the state.

51. Defendant Independence Blue Cross is a Pennsylvania corporation with its
corporate headquarters located at 1901 Market Street, Philadelphia, Pennsylvania 19103. It is

the parent corporation of a number of subsidiaries that provide health care services to more than

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3 million enrollees in Pennsylvania, Independence Blue Cross, its subsidiaries and health care
plans are collectively referred to as “Independence Blue Cross” in this Complaint. Independence
Blue Cross exercises market dominance in the state of Pennsylvania or within areas of the state.

52. Defendant Triple S — Salud, Inc. is a Puerto Rico corporation with its corporate
headquarters located at 1441 F.D. Roosevelt Avenue, San Juan, Puerto Rico 00920. It is the
parent corporation of a number of subsidiaries that provide health care services to more than
600,000 enrollees in Puerto Rico. Triple S — Salud, Inc., its subsidiaries and health care plans are
collectively referred to as “Triple-S of Puerto Rico” in this Complaint. Triple-S of Puerto Rico
exercises market dominance in Puerto Rico or within areas of Puerto Rico.

53. Defendant Blue Cross and Blue Shield of Rhode Island is a Rhode Island
corporation with its corporate headquarters located at 15 LaSalle Square, Providence, Rhode
Island 02903. It is the parent corporation of a number of subsidiaries that provide health care
services to approximately 600,000 enrollees in various health care plans in Rhode Island. Blue
Cross and Blue Shield of Rhode Island, its subsidiaries and health care plans are collectively
teferred to as “Blue Cross and Blue Shield of Rhode Island” or “BCBS-RI” in this Complaint.
BCBS-RI exercises market dominance in the state of Rhode [sland or within areas of the state.

54. Defendant Blue Cross and Blue Shield of South Carolina is a South Carolina
corporation with its corporate headquarters located at 2501 Faraway Drive, Columbia, South
Carolina 29223, It is the parent corporation of a number of subsidiaries that provide health care
services to approximately one million members in various health care plans in South Carolina.
Blue Cross and Blue Shield of South Carolina, its subsidiaries, and health care plans are
collectively referred to as “Blue Cross and Blue Shield of South Carolina” or “BCBS-SC.”
BCBS-SC exercises market dominance in the state of South Carolina or within parts of the state.

55, Defendant Wellmark of South Dakota, Inc. d/b/a Wellmark Blue Cross and Blue
Shield of South Dakota is a South Dakota corporation with its corporate headquarters located at
1601 W. Madison, Sioux Falls, South Dakota 57104. It is the parent corporation of a number of

subsidiaries that provide health care services to approximately 250,000 enrollees in South

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Dakota. Blue Cross and Blue Shield of South Dakota, its subsidiaries and health care plans are
collectively referred to as “Blue Cross and Blue Shield of South Dakota” or “BCBS-SD” in this
Complaint. Blue Cross and Blue Shield of South Dakota exercises market dominance in the state
of South Dakota or within areas of the state.

56. Defendant Blue Cross and Blue Shield of Tennessee is a Tennessee corporation
with its corporate headquarters located at 1 Cameron Hill Circle, Chattanooga, Tennessee 37402.
It is the parent corporation of a number of subsidiaries that provide health care services to
approximately 2.3 million members in various health care plans in Tennessee. Blue Cross and
Blue Shield of Tennessee, its subsidiaries, and health care plans are collectively referred to as
“Blue Cross and Blue Shield of Tennessee” or “BCBS-TN.” BCBS-TN exercises market
dominance in the state of Tennessee or within areas of the state.

57. Defendant Blue Cross and Blue Shield of Texas is a Texas corporation with its
corporate headquarters located at 1001 E. Lookout Drive, Richardson, Texas 75082. It is the
parent corporation of a number of subsidiaries that provide health care services to approximately
2.9 million enrollees in various health care plans in Texas. Blue Cross and Blue Shield of Texas,
its subsidiaries and health care plans are collectively referred to as “Blue Cross and Blue Shield
of Texas” or “BCBS-TX” in this Complaint. BCBS-TX exercises market dominance in the state
of Texas or within areas of the state.

58. Defendant Blue Cross and Blue Shield of Vermont is a Vermont corporation with
its corporate headquarters located at 445 Industrial Lane, Berlin, Vermont 05602. It is the parent
corporation of a number of subsidiaries that provide health care services to enrollees in the state
of Vermont. Blue Cross and Blue Shield of Vermont, its subsidiaries and health care plans are
collectively referred to as “Blue Cross and Blue Shield of Vermont” or “BCBS-VT” in this
Complaint. BCBS-VT exercises market dominance in the state of Vermont or within areas of the

state.
59, Defendant Anthem Blue Cross and Blue Shield of Virginia, Inc. is a Virginia

corporation with its corporate headquarters located at 2235 Staples Mill Road, Suite 401,

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Richmond, Virginia 23230. It is the parent corporation of a number of subsidiaries that provide
health care services to approximately 2.2 million enrollees in various health care plans in
Virginia. Anthem Blue Cross and Blue Shield of Virginia, Inc., its subsidiaries and health care
plans are collectively referred to as “Blue Cross and Blue Shield of Virginia” or “BCBS-VA” in
this Complaint. BCBS-VA exercises market dominance in the state of Virginia or within areas
of the state.

60. Defendant Highmark Blue Cross and Blue Shield of West Virginia is a West
Virginia corporation with its corporate headquarters located at 700 Market Square, Parkersburg,
West Virginia 26101. It is the parent corporation of a number of subsidiaries that provide health
care services to approximately 250,000 enrollees in various health care plans in West Virginia.
Highmark Blue Cross and Blue Shield of West Virginia, its subsidiaries and health care plans are
collectively referred to as “Highmark Blue Cross and Blue Shield of West Virginia” or “BCBS-
WV” in this Complaint. BCBS-WA exercises market dominance in the state of West Virginia
or in areas of the state.

61. Defendant BCBSA is a corporation organized in the State of Wlinois and
headquartered at 225 N. Michigan Avenue, Chicago, Illinois 60601. It is owned and controlled
by 38 health insurance plans that operate under the Blue Cross and Blue Shield trademarks and
trade names. BCBSA was created by these plans and operates as the licensor. Health insurance
plans operating under the Blue Cross and Blue Shield trademarks and trade names provide health
insurance coverage for approximately 100 million—or one in three—Americans. BCBSA itself
does not provide health services and does not contract with physicians for the provisions of
services, but it operates to create consistency and cooperation among its 38 members. It is

owned and controlled by its members and is governed by a board of directors, two-thirds of

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which must be composed of either plan chief executive officers or plan board members. The 38
plans fund Defendant BCBSA.

62. BCBSA has contacts with the State of Alabama by virtue of its agreements and

contacts with BCBS-AL.

FACTUAL ALLEGATIONS

63. The BCBS Defendants all enjoy market dominance within their respective states
or areas of their states. In some cases this share approaches 100%, demonstrating the complete
lack of meaningful competition within these markets. For example, in 2008, BCBS-AL enrolled
96% of subscribers of full-service commercial health insurance plans in the Alabama small
group market, whether the insurance was offered through a health maintenance organization
("HMO") or through a preferred provider organization ("PPO") plan. BCBS-AL thus has the
highest share of the small group insurance market achieved by any health insurance carrier in
any state in the country.

64. The situation in Alabama, while extraordinary, is not unique, however, as the
BCBS Defendants all reap similar benefits in their respective service areas across the United
States. For example, according to certain data reported by the U.S. Government Accountability
Office, Premera Blue Cross of Alaska enjoys a 77% market share in Alaska; BlueCross Blue
Shield of North Carolina has 65% of the market in North Carolina; and Blue Cross Blue Shield
of Tennessee enjoys 68% of that state’s health insurance market.

65. BCBS Defendants’ market dominance is the result of a systematic and
longstanding agreement between and among the BCBS Defendants and the remaining insurance

companies that license the Blue Cross and/or Blue Shield brands to unlawfully divide and

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allocate the geographic markets for health insurance coverage in the United States, thereby
eliminating competition. This illegal restraint is implemented through the Blue Cross and Blue
Shield license agreements that each licensee has entered into with Defendant BCBSA. As
detailed herein, the member health insurance plans of BCBSA that allocate the geographic
markets for health insurance by limiting each Blue’s activity outside of a designated service area,
thereby preventing competition among BCBS companies. Moreover, these agreements
effectively obstruct entry by non-BCBS insurers by, among other things, preventing the sale or
transfer of established networks to non-Blue entities. These provisions have insulated BCBS
Defendants and the other Blues from competition by both Blues and non-Blues in each of their
respective service areas. These provisions of the BCBS agreements operate as effective
restraints on competition, and have no sufficient economic justification aside from protecting
BCBS entities from competition.

66. Defendants’ anticompetitive practices, by eliminating competition and reducing
the choices available to health insurance consumers, have raised the premiums that residents
must pay to obtain health insurance. This has further allowed BCBS Defendants to collect
supracompetitive profits, higher than they would have experienced had there been unimpeded
competition in the states in question. Indicia of supracompetitive profits include high medical
loss ratios, high underwriting margins, and surpluses well above statutory requirements.

67. _ By and through their agreement, each of the BCBS Defendants has been able to
acquire and maintain a grossly disproportionate market share for health insurance products in
their state or areas of their state. Consequently, each of the BCBS Defendants has benefitted

from inflated surpluses and increased underwriting margins, and each of them has exploited their

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decreased medical loss ratios in their respective allocated markets to the resulting detriment and
antitrust injury of health insurance subscribers.

68. Defendants’ anticompetitive practices, by reducing the options available to
healthcare providers, have also significantly lowered the rates
paid to healthcare providers. Given the market dominance of the BCBS Defendants, BCBS
Defendants’ rival health insurance plans are effectively excluded from the market.

69. Defendants have not undertaken the above practices and activities in isolation, but
instead have done so as part of a common scheme and conspiracy.

70. The Defendants’ co-conspirators include other Blue Plans who are not Defendants
in this Action.

71. The Defendants and the other Blue Plans are not competitors; rather they are all
licensees of the BCBSA who operate in distinct geographical regions. The Defendants have
engaged in a conspiracy to allocate markets, to reduce competition and to increase their profits at
the expense of healthcare providers.

72. The member Blues, including BCBS Defendants, are all licensees of the BCBSA
which entitles them to certain rights within the BCBSA, such as use of the “blue cross” or “blue
shield” emblem. BCBSA members elect a Board of Directors, composed exclusively of member
Blues. That Board of Directors in turn establishes rules that require licensing agreements and an
agreement not to compete in each other’s exclusive territories. There is no procompetetive
justification for these licensing agreements and restrictions on competition in exclusive
territories. Instead, they are naked restraints on trade, are not ancillary to the legitimate and

competitive purposes of the BCBS Defendants, and have profound anticompetitive effects.

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History and Background of the Blue Cross and Blue Shield Plans and of BCBSA

73. Blue Cross and Blue Shield Plans undertook a coordinated effort to create a
national brand and then to allocate the market in which each Blue Plan would operate free of
competition from other Blue Plans which has resulted in monopolies within the allocated
geographic regions. The history of BCBSA demonstrates that the origin of the geographic
restrictions in its trademark licenses was an effort to avoid competition between the various Blue
plans, and to ensure that each Blue plan would retain a dominant position within its local service
area.

74. ~~ In 1937, Blue Cross plan executives met in Chicago. At that meeting, American
Hospital Association ("AHA") officials announced that prepaid hospital plans meeting certain
standards of approval would receive institutional membership in the AHA. In 1938, the
Committee on Hospital Service adopted a set of principles to guide its "approval" of prepaid
hospital plans. One such principle was that the plans would not compete with each other.

75. The development of what became the Blue Shield plans followed, and imitated,
the development of the Blue Cross plans. These plans were designed to provide a mechanism for
covering the cost of physician care, just as the Blue Cross plans had provided a mechanism for
covering the cost of hospital care. Similarly, the Blue Cross hospital plans were developed in
conjunction with the AHA (which represents hospitals), while the Blue Shield medical society
plans were developed in conjunction with the American Medical Association ("AMA") (which
represents physicians).

76. In 1946, the AMA formed the Associated Medical Care Plans ("AMCP"), a
national body intended to coordinate and "approve" the independent Blue Shield plans. When

the AMCP proposed that the Blue Shield symbol be used to signify that a Blue Shield plan was

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"approved," the AMA responded, “It is inconceivable to us that any group of state medical
society Plans should band together to exclude other state medical society programs by patenting
a term, name, symbol, or product.” In 1960, the AMCP changed its name to the National
Association of Blue Shield Plans, which in 1976 changed its name to the Blue Shield
Association,

77. Historically, the Blue Cross plans and the Blue Shield plans were fierce
competitors. During the early decades of their existence, there were no restrictions on the ability
of a Blue Cross plan to compete with or offer coverage in an area already covered by a Blue
Shield plan.

78. However, by the late 1940s, the Blue plans faced growing competition not just
from each other, but also from commercial insurance companies that had recognized the success
of the Blue plans and were now entering the market.

79. From 1947-1948, the Blue Cross Commission and the AMCP attempted to
develop a national agency for all Blue plans, to be called the Blue Cross and Blue Shield Health
Service, Inc., but the proposal failed. One reason given for its failure was the AMA's fear that a
restraint of trade action might result from such cooperation.

80. Instead, to address competition from commercial insurers and competition from
other Blue plans, and to ensure national cooperation among the different Blue entities, the plans
agreed to centralize the ownership of their trademarks and trade names.

81. Thus, in 1954, the Blue Cross plans transferred their rights in each of their
respective Blue Cross trade names and trademarks to the AHA. In 1972, the AHA assigned its
rights in these marks to the Blue Cross Association. Likewise, in 1952, the Blue Shield plans

agreed to transfer their ownership rights in their respective Blue Shield trade names and

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trademarks to the National Association of Blue Shield Plans, which was renamed the Blue Shield
Association in 1976.

82. In 1982, the Blue Cross Association and the Blue Shield Association merged to
form BCBSA. At that time, BCBSA became the sole owner of the various Blue Cross and Blue
Shield trademarks and trade names that had previously been owned by the local plans. That
same year, BCBSA's Member Plans agreed to two propositions: (1) by the end of 1984, all
existing Blue Cross plans and Blue Shield plans should consolidate at a local level to form Blue
Cross and Blue Shield plans; and (2) by the end of 1985, all Blue plans within a state should
further consolidate, ensuring that each state would have only one Blue plan. As a result of these
goals, the number of Member Plans went from 110 in 1984, to 75 in 1989, to 38 today.

83. In 1987, the Member Plans of BCBSA held an “Assembly of Plans” — a series of
meetings held for the purpose of determining how they would and would not compete against
each other. During these meetings, these independent health insurers and competitors agreed to
maintain exclusive service areas when operating under the Blue brand, thereby eliminating "Blue
on Blue" competition. However, the Assembly of Plans left open the possibility of competition
from non-Blue subsidiaries of Blue plans, an increasing “problem” that had caused complaints
from many Blue plans.

84. Subsequently, the Blue Cross and Blue Shield plans together agreed to restrict the
territories in which they would operate under any brand, Blue or non-Blue, as well as the ability
of non-members of BCBSA to control or acquire the Member Plans. These illegal restraints are
discussed below.

85. Although Blue Cross Blue Shield plans were originally set up as not-for profit

entities, during the 1980s and afterwards, they began to operate less like charitable entities and

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more like for-profit corporations. Thus, in 1986, Congress revoked the Blues’ tax-exempt status
and they thus formed for-profit subsidiaries. Consequently, the majority of the Blues converted
to for-profit status and still operate as such today. Those that have not officially converted are
only nominally characterized as not-for-profit as they generate substantial earnings and
surpluses, paying executives millions of dollars in salaries and bonuses.

The BCBSA and Blues Entities

86. BCBSA calls itself “a national federation of 38 independent, community-based
and locally operated Blue Cross and Blue Shield companies” and “the trade association for the
Blue Cross Blue Shield companies.” The Association is a separate legal entity and it purports to
promote the common interests of the independent Blues entities. Defendant BCBSA and the
Blue entities cover a large percentage of the subscribers in the managed care market in most
states and in some local areas, and they also include a large percentage of doctors and hospitals
in their network of contracted providers. BCBSA states that over 100 million individuals are
enrolled with Defendants and co-conspirator Blue Plans, approximately one in three individuals
nationwide.

87. The independent Blue Cross and Biue Shield licensees include many of the largest
health insurance companies in the United States who would be potential competitors. Indeed, the
largest health insurance company in the nation by some measures is WellPoint, a BCBSA
licensee. Similarly, fifteen of the twenty-five largest health insurance companies in the country
are BCBSA licensees. Absent the Association’s licensing agreements with each of the Blues,
these companies would compete against each other in the market for commercial health

insurance.

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88. | BCBSA’s Member Plans are independent health insurance companies that license
the Blue Cross and/or Blue Shield trademarks and trade names, and that, but for any agreements
to the contrary, could and would compete with one another. Instead, with and through the
Association the Blues have divided health insurance markets throughout the United States, to
eliminate competition in those markets. On its website, BCBSA admits that "[w]hen the
individual Blue companies' priorities, business objectives and corporate culture conflict, it is our
job to help them develop a united vision and strategy" and that it "[e}stablishes a common
direction and cooperation between [BCBSA] and the 39 [now 38] Blue companies."

89. The Association not only requires each individual Blue plan to agree to the
territorial restrictions in the licensing agreements, but also serves as the epicenter for the Blues’
communications and arrangements in furtherance of the their agreements not to compete. As
BCBSA's general counsel, Roger G. Wilson, explained to the Insurance Commissioner of
Pennsylvania, "BCBSA's 39 [now 38] independent licensed companies compete as a cooperative
federation against non-Blue insurance companies.” One BCBSA member plan admitted in its
February 17, 2011 Form 10-K that "[eJach of the [38] BCBS companies ... works cooperatively
in a number of ways that create significant market advantages ...."

90. The Association, as a separate legal entity, is a convenient vehicle for
anticompetitive agreements between and among the otherwise economic independent Blues,
termed “Member Plans”. The Association’s board of directors consists of the chief executive
officer from each of its Member Plans and BCBSA’s own chief executive officer. The board of
directors holds meetings to discuss the administration and management of BCBSA and its

Member Plans, while smaller committee meetings address specific health insurance issues.

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These meetings provide a forum for representatives of Member Plans to share information on
such issues, and that information is later disseminated to all 38 members.

91. In addition, BCBSA includes numerous committees governed by the Member
Plans; it sponsors various meetings, seminars, and conferences attended by the Member Plans;
and it produces manuals, reports, list serves, and other correspondence to the Member Plans, all
in furtherance of the conspiracy.

92, Furthermore, the Association has strict rules and regulations that all members of
BCBSA must obey concerning members’ Licensing Agreements and the guidelines proposed
members must adhere to prior to joining the Association.’ Those regulations provide for
amendment with a vote of three fourths of the Blues.

93, The Association polices the compliance of all members of BCBSA with its rules
and regulations. The Guidelines state that the Association’s Plan Performance and Financial
Standards Committee (the “PPFSC”) “is responsible for making the initial determination about a
Plan's compliance with the license agreements and membership standards. Based on that
determination, PPFSC makes a recommendation to the BCBSA Board of Directors, which may
accept, reject, or modify the recommendation.” In addition, the Guidelines state that "BCBSA
shall send a triennial membership compliance letter to each [member] Plan's CEO,” which
includes, among other things, “a copy of the Membership Standards and Guidelines, a report of
the Plan's licensure and membership status by Standard, and PPFSC comments or concerns, if

any, about the Plan's compliance with the License Agreements and Membership Standards. In

These rules and regulations include the Blue Cross License Agreement and the Blue

Shield License Agreement (collectively, the "License Agreements"), the Membership Standards
Applicable to Regular Members (the "Membership Standards"), and the Guidelines to
Administer Membership Standards (the "Guidelines").

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response, “[t]he Plan CEO or Corporate Secretary must certify to the PPFSC that the triennial
membership compliance letter has been distributed to all Plan Board Members.”

94. ‘The Association controls and administers the disciplinary process for members of
BCBSA that do not abide by BCBSA's rules and regulations. The Guidelines describe three
responses to a member plan's failure to comply "Immediate Termination," "Mediation and
Arbitration," and "Sanctions" -each of which is administered by the PPFSC and could result in
the termination of a member plan's license.

95. The Association controls the termination of existing members from BCBSA.
According to the Guidelines, "a Plan's licenses and membership [in BCBSA] may only be
terminated on a three-fourths or greater affirmative Plan and Plan weighted vote."

96. As the foregoing demonstrates, BCBSA not only enters into anticompetitive
agreements with the Blues entities to allocate markets, but also facilitates the cooperation and
communications between the Blues to suppress competition within their respective areas of
operation. BCBSA is a convenient organization through which the Blues entities can enter into
patently illegal territorial restraints between and among themselves.

The Horizontal Agreements Not To Compete In The Licensing Arrangements

Between BCBSA And Its Member Plans, Including BCBS Defendants, Are Per Se
Violations of The Sherman Act

97, The rules and regulations of BCBSA, including, but not limited to, the License
Agreements, the Membership Standards, and the Guidelines, constitute horizontal agreements
between competitors, the independent Blue Cross and Blue Shield licensees, to divide the
geographic market for health insurance. As such, they are a per se violation of Section | of the

Sherman Act.

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98. Through the License Agreements each Blue Cross and Blue Shield licensee
agrees that neither it nor its subsidiaries will compete under the licensed Blue Cross and Blue
Shield trademarks and trade names outside of a designated "Service Area. “The License
Agreement defines each licensee's Service Area as "the geographical area(s) served by the Plan
on June 10, 1972, and/or as to which the Plan has been granted a subsequent license.”

99. Through the Guidelines and Membership Standards, each Blue Cross and Blue
Shield licensee agrees that at least 80% of the annual revenue that it or its subsidiaries generate
from within its designated Service Area (excluding Medicare and Medicaid) shall be derived
from services offered under the licensed Blue Cross and Blue Shield trademarks and trade
names. This provision directly limits the ability of each Blue plan to generate revenue from non-
Blue business. This provision also thereby limits the ability of each plan to develop non-Blue
brands that could and would compete with Blue plans.

100. Through the Guidelines and Membership Standards, each Blue Cross and Blue
Shield licensee further agrees that at least two-thirds of the annual revenue generated by it or its
subsidiaries from either inside or outside of its designated Service Area (excluding Medicare and
Medicaid) shall be attributable to services offered under the Blue Cross and Blue Shield
trademarks and trade names. The Guidelines provide that national enrollment can be substituted
for annual revenue, making the alternative restriction that a plan will derive no less than 66.66%
of its national enrollment from its Blue business. This provision directly limits the ability of
each Blue plan to generate revenue from non-Blue branded business, and thereby limits the
ability of each plan to develop non-Blue brands that could and would compete with Blue plans.

101. Therefore, each Blue Cross and Blue Shield licensee has agreed with the

Association that in exchange for having the exclusive right to use the Blue brand within a

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designated geographic area, it will derive none of its revenue from services offered under the
Blue brand outside of that area, and will derive at most one-third of its revenue from outside of
its exclusive area, using services offered under a non-Blue brand. The latter amount will be
further reduced if the licensee derives any of its revenue within its designated geographic area
from services offered under a non-Blue brand.

102. The foregoing restrictions on the ability of Blue plans to generate revenue outside
of their service areas constitute agreements to divide and allocate geographic markets, and
therefore are per se violations of Section 1 of the Sherman Act.

103. BCBSA and the Blues admit to the existence of territorial market divisions and
the consequences of violating them. For example, the former Blue Cross licensee in Ohio has
publicly stated that the BCBSA Member Plans agreed to include territorial restrictions in the
Guidelines in order to block the sale of one member plan to a non-member plan as that would
create increased competition.

104. The largest Blue licensee, WellPoint, describes the restrictions on its ability to do
business. In its February 17, 2011 Form 10-K filed with the United States Securities and
Exchange Commission, WellPoint stated that it had “no right to market products and services
using the BCBS names and marks outside of the states in which we are licensed to sell BCBS
products,” and that “‘[t]he license agreements with the BCBSA contain certain requirements and
restrictions regarding our operations and our use of the BCBS names and marks, including ... a
requirement that at least 80% ... of a licensee's annual combined net revenue attributable to
health benefit plans within its service area must be sold, marketed, administered or underwritten

under the BCBS names and marks” and “a requirement that at least 66 and 2/3% of a licensee's

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annual combined national revenue attributable to health benefit plans must be sold, marketed,
administered or underwritten under the BCBS names and marks.”

105. The Association imposes harsh penalties on those that violate the territorial
restrictions. According to the Guidelines, a licensee that violates one of the territorial restrictions
could face "[IJicense and membership termination." Ifa member plan's license and membership
are terminated, it loses the use of the Blue brands, which BCBSA admits on its website are "the
most recognized in the health care industry." In addition, in the event of termination, a plan must
pay a fee to BCBSA. According to WellPoint’s February 17, 2011 Form 10-K, there was a “re-
establishment fee” of $98.33 per enrollee which would “allow the BCBSA to ‘re establish” a
Blue Cross and/or Blue Shield presence in the vacated service area.”

166. Thus while there are numerous Blue plans, and non-Blue businesses owned by
such plans that could and would compete effectively in designated service areas but for the
territorial restrictions, the BCBS Defendants in those areas dominate the markets. The territorial
restrictions have therefore barred competition from the respective commercial health insurance
markets.

107. For example, with approximately 34 million enrollees, Anthem is the largest
health insurer in the country by total medical enrollment and is the BCBSA licensee for 14
states, and also serves the entire nation through its non-Blue brand subsidiary, UniCare.
However, Anthem does not have a presence in any of the other BCBS Defendants’ states. But
for the illegal territorial restrictions described herein, Anthem would likely offer its health
insurance products and services in those states and compete with the other BCBS Defendants.
Such competition would lessen the disparity in power between the Blues and _ healthcare

providers and, would, therefore, result in higher rates and better terms. The BCBS Defendants

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would no longer be able to abuse their market power. Greater competition would result in more
options and greater access to patients for healthcare providers who opt not to be in-network with
a particular BCBS Defendant. Greater competition would also result in lower health care costs
and premiums by affected enrollees. Accordingly, all healthcare providers and healthcare
consumers would benefit from a healthier, more competitive healthcare environment

108. Similarly, Blue Cross and Blue Shield of Florida is the 15th largest health insurer
in the country by total medical enrollment with more than seven million enrollees. But for the
illegal territorial restrictions, it would likely offer its health insurance services and products in
other BCBS Defendants’ states and compete with other BCBS Defendants. Such competition
would lessen the disparity in power between the Blues and healthcare providers and, would,
therefore, result in higher rates and better terms. The BCBS Defendants would no longer be able
to abuse their market power. Greater competition would result in more options and greater
access to patients for healthcare providers who opt not to be in-network with a particular BCBS
Defendant. Greater competition would also result in lower heaith care costs and premiums paid
by BCBS Defendants’ enrollees. Accordingly, all healthcare providers and healthcare
consumers would benefit from a healthier, more competitive healthcare environment.

109. Therefore, the territorial restrictions agreed to by all BCBSA members operate to
restrain competition by preventing Member Plans from competing with each other and with non-
Blue plans. These prohibitions on competition apply no matter how favorable the efficiencies
and economies of scale that might result from expansion of a Blue into a new area, and no matter

how much premiums and other costs might be reduced if competition were permitted.

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The Anticompetitive Acquisition Restrictions In The BCBSA Licensing Agreements

110. In addition to the per se illegal territorial restrictions summarized above, the rules
and regulations of BCBSA, also include provisions that restrict the ability of non-members of
BCBSA to acquire or obtain control over any Member Plan. These provisions create a
significant barrier to entry for companies that are not BCBSA members or their affiliates. As
such, they further restrain competition by helping BCBS companies to capture and maintain high
market shares and elevate prices.

111. First, the Guidelines state that "[nJeither a [Member] Plan nor any Larger
Controlled Affiliate shall cause or permit an entity other than a [Member] Plan or a Licensed
Controlled Affiliate thereof to obtain control of the [Member] Plan or Larger Controlled Affiliate
or to acquire a substantial portion of its assets related to licensable services.” Should a non-
member wish to obtain such control or assets, it “is invited to apply to become a licensee.”
However, as alleged above, the Member Plans control the entry of new members into BCBSA.
Should a non-member attempt to join BCBSA in order to obtain control of or to acquire a
substantial portion of the assets of a member plan, the Association — and through it, the Member
Plans — could easily block its membership. Moreover, such a new member would be
immediately limited by the BCBSA license’s territorial restrictions. It would be forbidden from
operating as a BCBS entity in a service area already inhabited by a BCBS entity, yet 1t would be
required to make at least 66.7% of its revenue under the BCBS name. For many potential
acquirers with a pre-existing footprint in the U.S. health insurance market, these two conditions
would be impossible to meet.

112. Second, the License Agreements contain a number of acquisition restrictions

applicable to for-profit Blue Cross and Blue Shield licensees (1.e., to those licensees who would

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otherwise be capable of having their shares acquired), These include four situations in which a
member plan's license will terminate automatically: (1) if any institutional investor become
beneficially entitled to 10 percent or more of the voting power of the member plan; (2) if any
non-institutional investor become beneficially entitled to 5 percent or more of the voting power
of the member plan; (3) if any person become beneficially entitled to 20 percent of more of the
member plan's then-outstanding common stock or equity securities; or (4) if the member plan
conveys, assigns, transfers, or sells substantially all of its assets to any person, or consolidates or
merges with or into any person, other than a merger in which the member plan is the surviving
entity and in which, immediately after the merger, no institutional investor is beneficially entitled
to 10 percent or more of the voting power, no non-institutional investor is beneficially entitled to
5 percent or more of the voting power, and no person is beneficially entitled to 20 percent of
more of the then-outstanding common stock or equity securities. These restrictions apply unless
modified or waived in particular circumstances upon the affirmative vote both of a majority of
the disinterested Member Plans and also of a majority weighted vote of the disinterested Member
Plans. These restraints effectively preclude the sale of a BCBSA member to a non-member
entity absent special approval.

113. These acquisition restraints reduce competition by substantially reducing the
ability of non-member insurance companies to expand their business. In order to expand into a
new geographic area, a non-member insurance company faces the choice of whether to build its
own network in that area, or to acquire a network by buying some or all of an existing plan in
that area. Through the acquisition restrictions, BCBSA and the Blue plans have conspired to
force competitors to build their own networks, and have effectively prohibited those competitors

from ever choosing what may often be the more efficient solution of acquiring new networks by

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purchasing some or all of an existing Blue plan. Blue provider networks may be the most cost
effective due to historical tax breaks, favorable legislation, and long-term presence in a region.
In fact, national insurers rarely enter a new regional market without purchasing a large local
firm. By preventing non-Blue entities from acquiring Blue entities and their networks, the
acquisition restrictions in the BCBSA licenses effectively force competitors to adopt less
efficient methods of expanding their networks, thereby reducing and in some instances
eliminating competition.

114. By agreeing to restrict the pool of potential purchasers of a Blue licensee to other
Blue licensees, the member plans of BCBSA raise the costs their rivals must incur to expand
their networks and areas of practice, reduce efficiency, and protect themselves and each other
from competition. The net effect is less competition, lower rates for healthcare providers and
higher premium costs for consumers.

The BCBSA Licensing Agreements Have Reduced Competition

115. BCBS Defendants, as licensees, members, and parts of the governing body of
BCBSA, have conspired with the other Member Plans of BCBSA to create, approve, abide by,
and enforce the rules and regulations of BCBSA, including the per se illegal territorial
restrictions in the License Agreements and Guidelines. Many of the Member Plans with which
BCBS Defendants have conspired would otherwise be significant competitors.

116. For example, with approximately 34 million enrollees, Anthem is the largest
health insurer in the country by total medical enrollment. It is the Blue Cross and Blue Shield
licensee for fourteen states and also serves customers throughout the country through its non-
Blue brand subsidiary, UniCare. But for the legal territorial restrictions summarized above,

Anthem would be likely to offer its health insurance services and products in designated states in

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competition with other BCBS Defendants. Such competition would lessen the disparity in power
between the Blues and healthcare providers and, would, therefore, result in higher rates and
better terms. The BCBS Defendants would no longer be able to abuse their market power.
Greater competition would result in more options and greater access to patients for healthcare
providers who opt not to be in-network with a particular BCBS Defendant. Greater competition
would also result in lower health care costs and premiums paid by affected enrollees.
Accordingly, all healthcare providers as well as healthcare consumers would benefit from a
healthier, more competitive healthcare environment.

117. In addition to the foregoing example, there are dozens of other Blue plans that
would and could compete in the designated areas but for the illegal territorial restrictions. In
addition, the BCBS Defendants could compete with each other. As alleged above, 15 of the 25
largest health insurance companies in the country are Blue plans. If all of these plans, together
with all other BCBSA members, were able to compete in each other’s territories, the result
would be greater competition. Such competition would lessen the disparity in power between the
Blues and healthcare providers and, would, therefore, result in higher rates and better terms.
Greater competition would result in more options and greater access to patients for healthcare
providers who opt not to be in-network with a particular BCBS Defendant. Greater competition
would also result in lower health care costs and premiums paid by affected enrollees. All
healthcare providers as well as healthcare consumers would benefit from a healthier, more

competitive healthcare environment.

CLASS ACTION ALLEGATIONS

118. Plaintiff brings this action on behalf of himself and on behalf of a class of

healthcare providers. Plaintiff brings this action seeking damages and permanent injunctive

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relief on behalf of a class of plaintiffs pursuant to the provisions of Rule 23(a), (b)(2) and (b)(3)
of the Federal Rules of Civil Procedure on behalf of the following class:
All healthcare providers in the United States of America who provided
services to any patient who was insured by or who was a member or
beneficiary of any plan administered by a BCBS Defendant within four
years prior to the date of the filing of this action.

119. Plaintiffis a member of the Class, his claims are typical of the claims of the other
Class members, and Plaintiff will fairly and adequately protect the interests of the Class.
Plaintiff is represented by counsel who are competent and experienced in the prosecution of
class-action antitrust litigation, Plaintiff's interests are coincident with, and not antagonistic to,
those of the other members of the Class.

120. The anticompetitive conduct of Defendants alleged herein has imposed, and
threatens to impose, a common antitrust injury on the Class Members. The Class Members are so
numerous that joinder of all members is impracticable.

121. Defendants’ relationships with the Class Members and Defendants’
anticompetitive conduct have been substantially uniform. Common questions of law and fact
will predominate over any individual questions of law and fact.

122. Defendants have acted, continue to act, refused to act, and continue to refuse to
act on grounds generally applicable to Class Members, thereby making appropriate final
injunctive relief with respect to Class Members as a whole.

123. There will be no extraordinary difficulty in the management of this Class Action.
Common questions of law and fact exist with respect to all Class Members and predominate over
any questions solely affecting individual members. Among the questions of law and fact

common to Class Members, many of which cannot be seriously disputed, are the following:

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Whether Defendants violated Section 1 of the Sherman Act:

Whether Defendants participated in a contract, combination or conspiracy
in restraint of trade as alleged herein;

Whether Defendants engaged in a scheme to allocate the United States
healthcare market according to an agreed upon geographic division and
agreed not to compete within another plan’s geographic area;

Whether Defendants’ agreements constitute per se illegal restrain of trade
in violation of Section 1 of the Sherman Act;

Whether any procompetitive justifications that Defendants may proffer for
their conduct alleged herein do exist, and if such justifications do exist,
whether those justifications outweigh the harm to competition caused by
that conduct;

Whether Class Members have been impacted or may be impacted by the
harms to competition that are alleged herein.

The proper measure of damages sustained by the Class as a result of the
conduct alleged herein;

124. These and other questions of law and fact are common to Class Members and

predominate over any issues affecting only individual Class Members.

125. The prosecution of separate actions by individual Class Members would create a

tisk of inconsistent or varying adjudications, establishing incompatible standards of conduct for

Defendants.

126. This Class Action is superior to any other method for the fair and efficient

adjudication of this legal dispute, as joinder of all members is not only impracticable, but

impossible. The damages suffered by many Class Members are small in relation to the expense

and burden of individual litigation, and therefore, it is highly impractical for such Class Members

to individually attempt to redress the wrongful anticompetitive conduct alleged herein.

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VIOLATIONS ALLEGED

Count One
(Contract, Combination, or Conspiracy in Restraint of Trade
in Violation of Section 1 of the Sherman Act)

127.  Plaintiffrepeats and realleges the allegations in Paragraphs 1 through 126.

128. The License Agreements, Membership Standards, and Guidelines entered into
between BCBSA and the Blue entities—including BCBS Defendants-represent a contract,
combination, and conspiracy within the meaning of Section 1 of the Sherman Act.

129. Through the License Agreements, Membership Standards, and Guidelines,
BCBSA and BCBS Defendants have agreed to divide and allocate the geographic markets for the
sale of commercial health insurance into a series of exclusive areas for each of the 38 BCBSA
members. By so doing, the BCBSA members -including BCBS Defendants- have agreed to
suppress competition and to increase their profits by increasing prices for individual and small
group health insurance sold in their respective territories and by decreasing the rates paid to
healthcare providers in violation of Section 1 of the Sherman Act. Due to the lack of competition
which results from Defendants’ illegal conduct, healthcare providers who choose not to be in-
network have an extremely limited market for the healthcare services they provide. Defendants’
market allocation agreements are per se illegal under Section | of the Sherman Act.

130. Asadirect and proximate result of Defendants’ continuing violations of Section |
of the Sherman Act, Plaintiff and other members of the Class have suffered and continue to
suffer injury and damages of the type that the federal antitrust laws were designed to prevent.

Such injury flows directly from that which makes Defendants’ conduct unlawful. These

damages consist of having been paid lower rates, having been forced to accept far less favorable

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terms, and/or having access to far fewer patients than they would have with increased
competition and but for the Defendants’ anticompetitive agreement.

13f. Plaintiff and the Class seek money damages from BCBS Defendants and BCBSA
for their violations of Section | of the Sherman Act.

132. The Defendants’ unlawful conduct threatens to continue to injure Plaintiff and
Class Members. Plaintiff and the Class seek a permanent injunction prohibiting BCBS
Defendants and BCBSA from entering into, or from honoring or enforcing, any agreements that

restrict the territories or geographic areas in which any BCBSA member may compete.

RELIEF REQUESTED

WHEREFORE, Plaintiff requests that this Court:

a. Determine that this action may be maintained as a class action under Rule 23 of
the Federal Rules of Civil Procedure;

b. Adjudge and decree that BCBSA and BCBS Defendants have violated Section |
of the Sherman Act;

c. Permanently enjoin BCBSA and BCBS Defendants from entering into, or from
honoring or enforcing, any agreements that restrict the territories or geographic areas in which
any BCBSA member plan may compete;

d. Award Plaintiff and the Class damages in the form of three times the amount of
damages suffered by Plaintiff and members of the Class as proven at trial;

e. Award costs and attorneys’ fees to Plaintiff;

f. For a trial by jury; and

g. Award any such other and further relief as may be just and proper.

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JURY TRIAL DEMAND

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby demands
a trial by jury on all issues.

Date: July 24, 2012 Respectfully submitted,

Doce Rhy Jearg

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